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Opinion filed October 27, 2005

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&nbsp;&nbsp;&nbsp; Eleventh Court of Appeals

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN THE MATTER OF M.D.G., A JUVENILE

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
Appeal from the Juvenile Court

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Midland
County, Texas

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial
Court Cause No. 5163

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
P I N I O N

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This is an appeal from an order adjudicating
M.D.G. delinquent, placing M.D.G. on probation for one year, and committing
M.D.G. to the Kerr County Juvenile Detention Center. M.D.G. presents two points
of error on appeal.&nbsp; In the first point
of error, M.D.G. argues that the trial court abused its discretion by refusing
to allow M.D.G. to withdraw his stipulations when the court refused to follow
the agreed recommendation on disposition.&nbsp;
In the second point of error, M.D.G. contends that he received
ineffective assistance of counsel at trial.&nbsp;
We reverse and remand.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Facts

In the underlying delinquency proceeding, the
State and M.D.G. reached an agreement regarding disposition and presented that
recommendation to the juvenile court for consideration.&nbsp; M.D.G. agreed to stipulate to interfering
with a police officer.&nbsp; M.D.G. also
agreed to stipulate to committing criminal mischief, specifically, throwing
rocks at a garage door.&nbsp; However, he did
not stipulate to the dollar amount of damages caused to the garage door.&nbsp; TEX. PEN. CODE ANN. '
28.03(a)(1) (Vernon Supp. 2004 - 2005).&nbsp;
In consideration for these stipulations, the State and M.D.G. agreed to
the following disposition:&nbsp; M.D.G. would
be found to have engaged in delinquent conduct, would be placed on one year=s probation in the home of his
grandmother, and would be required to pay restitution.

M.D.G.=s
stipulations were presented to the juvenile court at the adjudication
hearing.&nbsp; The juvenile court questioned
the partial stipulation concerning the act of criminal mischief.&nbsp; The court reasoned that, because M.D.G. would
not stipulate to the amount of damages, the court would have to enter a plea of
Anot true@
to the criminal mischief allegation.[1]&nbsp; After discussing M.D.G.=s partial stipulation, the trial court
asked, AAnd you
wish for the Court, then, to try to determine from the testimony that might be
presented into which bracket of the ranges under the Penal Code this particular
event might occur?@&nbsp; The juvenile responded, AYes.@&nbsp; When the court continued with its
admonishments, it stated that M.D.G. was Aessentially@ pleading not true to the second
charge.








The adjudication hearing proceeded with testimony
concerning only the amount of damages caused by the criminal mischief.&nbsp; Two witnesses testified to the cost of
repair, and the owner testified to the cause and amount of the damages.&nbsp; Except for the stipulations, no evidence was
presented to prove that M.D.G. committed the offense of criminal mischief.&nbsp; The owner testified that Aall the children across the alley
[were] there when I opened [my garage door].@&nbsp; He further testified that two witnesses saw
it occur and called the police before he got there.&nbsp; He did not testify that he knew which
juvenile engaged in the criminal mischief, and he did not identify M.D.G. as
the person responsible.&nbsp; When the
juvenile court concluded the adjudication hearing, the court pronounced that
M.D.G. had engaged in criminal mischief and found that the amount of damages
was between $500 and $1,500.

After adjudicating M.D.G. delinquent, the juvenile
court immediately held the disposition hearing.&nbsp;
Pursuant to the terms of the agreement between the State and M.D.G., the
juvenile probation officer recommended that M.D.G. be found to have engaged in
delinquent conduct, be placed on one year=s
probation in the home of his grandmother, and be ordered to pay restitution.
After the conclusion of the presentation of evidence, the juvenile court
ordered that M.D.G. be detained in the Kerr County juvenile facility for a
minimum of six months.

The record shows that the juvenile court
understood that its disposition differed from the agreed disposition reached
between M.D.G. and the State.&nbsp;
Nevertheless, the juvenile court proceeded with its disposition after
explaining that it had treated the stipulations as one plea of Atrue@
and one plea of Anot true.@&nbsp;
Trial counsel stated that M.D.G. had proceeded on the assumption that
the only issue to be determined was the amount of damages/restitution and that,
upon adjudication, the agreed disposition would be followed.&nbsp; After conferring with M.D.G., trial counsel
requested that the stipulations be withdrawn.&nbsp;
The juvenile court denied M.D.G.=s
request.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Analysis

Delinquency proceedings for juveniles in Texas are
not handled in the criminal system.&nbsp;
Although these proceedings are civil proceedings, they are
quasi-criminal in nature.&nbsp; In the
Matter of J.K.R., 986 S.W.2d 278, 280‑81 (Tex.App. ‑ Eastland
1998, pet=n den=d); In the Matter of R.S.C., 940
S.W.2d 750, 751 (Tex.App. ‑ El Paso 1997, no writ); see also TEX.
FAM. CODE ANN. ' 51.17
(Vernon Supp. 2004 - 2005).&nbsp; Juvenile
delinquency proceedings are governed by the Texas Family Code.&nbsp; In the Matter of R.J.H., 79 S.W.3d 1,
6 (Tex.2002).&nbsp; 

We find TEX. FAM. CODE ANN. ' 54.03(j) (Vernon Supp. 2004 - 2005) to
be controlling in this case.&nbsp; Section
54.03(j) provides as follows:&nbsp; 








When the state and the child agree to the
disposition of the case, in whole or in part, the prosecuting attorney
shall inform the court of the agreement between the state and the child.&nbsp; The court shall inform the child that the
court is not required to accept the agreement.&nbsp;
The court may delay a decision on whether to accept the agreement until
after reviewing a report filed under [TEX. FAM. CODE ANN. ' 54.04(b) (Vernon Supp. 2004 -
2005)].&nbsp; If the court decides not to
accept the agreement, the court shall inform the child of the court=s decision and give the child an
opportunity to withdraw the plea or stipulation of evidence. &nbsp;If the court rejects the agreement, no
document, testimony, or other evidence placed before the court that relates to
the rejected agreement may be considered by the court in a subsequent hearing
in the case.&nbsp; A statement made by the
child before the court=s
rejection of the agreement to a person writing a report to be filed under
Section 54.04(b) may not be admitted into evidence in a subsequent hearing in
the case.&nbsp; (Emphasis added)&nbsp; 

&nbsp;

These provisions provide for a form of plea bargaining whereby a
juvenile and the State may agree on the disposition, or a part thereof, and
present an agreed recommendation to the juvenile court.&nbsp; Under Section 54.03(j), if the court declines
to accept the agreement, the court is required to inform the juvenile of its
decision and give the juvenile an opportunity to withdraw his plea or any
stipulations that he made.&nbsp; 

In the instant case, the State and M.D.G. had
reached an agreement regarding disposition.&nbsp;
They agreed that M.D.G. would be found to have engaged in delinquent
conduct, would be placed on one year=s
probation in the home of his grandmother, and would be ordered to pay
restitution. Since the juvenile court elected not to accept this agreed
disposition, Section 54.03(j) required the court to permit M.D.G. to withdraw
his stipulations.&nbsp; Therefore, we hold
that the juvenile court abused its discretion by refusing to allow M.D.G. to
withdraw his stipulations. 

The first point of error is sustained.&nbsp; In light of our disposition of the first
point, we need not address the second point alleging ineffective assistance of
counsel.&nbsp; TEX.R.APP.P. 47.1.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
Court=s Ruling

The judgment of the juvenile court is reversed,
and the cause is remanded for further proceedings.&nbsp; 

&nbsp;

TERRY McCALL

JUSTICE

&nbsp;

October 27, 2005

Panel consists of: Wright, C.J., and McCall, J.

Strange, J., not participating.











[1]Criminal mischief is a state jail felony if the amount
of damages is at least $1,500 and less than $20,000, but a class A misdemeanor
if the damages were at least $500 but less than $1,500.&nbsp; TEX. PEN. CODE ANN. ' 28.03(b)(3-4) (Vernon 2004 - 2005).







